                 Case 3:03-cr-00081-GAG                     Document 1223           Filed 03/31/09            Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                      __________ District of Puerto Rico

                   United States of America                           )
                              v.                                      )
                ALEXIS A. FIGUEROA-PEREZ,                             )   Case No: 03-cr-00081-JAF-16
            T/N: ALEXIS ANTONIO FIGUEROA-PEREZ                        )   USM No: 23732-069
Date of Previous Judgment: August 17, 2004                            )   Alice M. Velazquez, Esq.
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       : DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                  Amended Offense Level:
Criminal History Category:               Criminal History Category:
Previous Guideline Range:  to    months  Amended Guideline Range:                                                         to   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
The stipulated relevant conduct in the Plea Agreement was for at least 3.5 but less than 5 kilos of powder cocaine; at
least 700 grams, but less than 1 kilogram of heroin, plus crack cocaine of at least 35 grams, but less than 50 grams of the
substance. This multi-drug case does not qualify for the solely crack cocaine retroactive amendment.


Except as provided above, all provisions of the judgment dated                               shall remain in effect.
IT IS SO ORDERED.

Order Date:         March 30, 2009                                                                s/José A. Fusté
                                                                                                   Judge’s signature


Effective Date:                                                                  JOSE A. FUSTE, U.S. DISTRICT JUDGE
                     (if different from order date)                                              Printed name and title
